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                   EXHIBIT 3
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                                                                                Page 1
·1· · · · · · · · · · · · · · ·M. Parrott
·2· UNITED STATES DISTRICT COURT
·3· FOR THE WESTERN DISTRICT OF VIRGINIA
·4· CHARLOTTESVILLE DIVISION
·5· ------------------------------x
·6· ELIZABETH SINES, et al.,
·7· · · · · · · · ·Plaintiffs,· · · · · Civil Action No.
·8· · · · · · ·v.· · · · · · · · · · · 3:17-cv-00072-NKM
·9· JASON KESSLER, et al.,
10· · · · · · · · ·Defendants.
11· ------------------------------x
12
13
14· · · · · · · · VIDEOCONFERENCE DEPOSITION OF
15· · · · · · · · · MATTHEW DAVID PARROTT
16· · · · · · · · · · · Paoli, Indiana
17· · · · · · · · · ·Friday, June 26, 2020
18
19· Reported by:
20· DEBORAH C. FUREY, RPR, CLR, CRI
21· JOB NO. 180624
22
23
24
25


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·1·   · · · · · · · · · · · · · M. Parrott                   ·1·   · · · · · · · · · · · · · M. Parrott
·2·   ·screenshots of text messages, correct?                ·2·   ·communications pertaining to Charlottesville.
·3·   · · ·A.· · Yes.                                        ·3·   · · ·Q.· · Okay.· And this was your effort to
·4·   · · ·Q.· · And how did you choose which 30             ·4·   ·respond to our document request in April of 2018,
·5·   ·screenshots to produce to us?                         ·5·   ·correct?
·6·   · · ·A.· · I went back through my text messages and    ·6·   · · ·A.· · Yes.
·7·   ·found the messages that I believe pertained to        ·7·   · · ·Q.· · Do you agree, Mr. Parrott, that you did
·8·   ·communications with the Unite the Right event.        ·8·   ·not produce to us a single text message to or from
·9·   · · ·Q.· · But how did you decide what pertained to    ·9·   ·Mr. Heimbach?
10·   ·Unite the Right?· Did you read every single text      10·   · · ·A.· · I may or may not have.· I don't recall
11·   ·message?· Did you use search terms?· How did you      11·   ·that.
12·   ·filter?                                               12·   · · ·Q.· · Well, why don't we quickly -- if you
13·   · · ·A.· · Because I don't communicate beyond my       13·   ·want -- do you want to look at this production to
14·   ·friends and family on my phone, it was a rather       14·   ·be able to answer whether or not you produced a
15·   ·simple task of right around Unite the Right, there    15·   ·single text message from Mr. Heimbach?
16·   ·was an explosion of these messages from strange       16·   · · ·A.· · Are you asking me to look at my phone
17·   ·phone numbers that I knew pertained to Unite the      17·   ·versus this?· I will take your word if you insist
18·   ·Right.                                                18·   ·that I did not send any communication between me
19·   · · ·Q.· · Okay.· But this was -- what we're           19·   ·and Heimbach.
20·   ·looking at in Exhibit 35 are the total documents      20·   · · ·Q.· · I don't want you to take my word.· I'm
21·   ·that you produced to us in April of 2018, correct?    21·   ·looking for your testimony.
22·   · · ·A.· · I only see one screenshot here, but I do    22·   · · · · · ·Do you agree that, when you made this
23·   ·remember taking several dozens of screenshots of      23·   ·document production in April 2018, you did not, in
24·   ·the conversations and sending them to you, and        24·   ·fact, produce a single text message to or from
25·   ·being satisfied that I had sent all of my text        25·   ·Matthew Heimbach?
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·1·   · · · · · · · · · · · · · M. Parrott                   ·1·   · · · · · · · · · · · · · M. Parrott
·2·   · · ·A.· · I don't know.· That seems peculiar. I       ·2·   · · ·Q.· · And that's the Nokia phone that we've
·3·   ·don't recall failing to do that.                      ·3·   ·been talking about?
·4·   · · ·Q.· · Do you agree that you did not produce to    ·4·   · · ·A.· · Yes.
·5·   ·us a single text message to or from Derrick Davis?    ·5·   · · ·Q.· · Did you produce to the vendor the same
·6·   · · ·A.· · I don't know whether I had a text           ·6·   ·phone that you pulled these text messages from
·7·   ·message with Mr. Davis.                               ·7·   ·that we see in Exhibit 35?
·8·   · · ·Q.· · Do you agree you did not produce to us a    ·8·   · · ·A.· · Yes.
·9·   ·single text message to or from Jason Augustus?        ·9·   · · ·Q.· · Before you produced the phone to the
10·   · · ·A.· · That is quite likely.                       10·   ·vendor, did you delete any text messages?
11·   · · ·Q.· · Do you know if you produced a single        11·   · · ·A.· · I do not believe so.
12·   ·text message from any TWP member?                     12·   · · ·Q.· · Can you be sure that you did not delete
13·   · · ·A.· · I believe I produced Tony's text            13·   ·any text messages from your phone?
14·   ·messages.· I do not know who I -- I do not recall     14·   · · ·A.· · My only concern is I might have deleted
15·   ·who I sent messages from.· It was years ago.          15·   ·Mr. Heimbach or Jessica White's messages
16·   · · ·Q.· · In October -- sorry.                        16·   ·pertaining to my divorce.· But I am confident that
17·   · · · · · ·When you say Tony, Tony Hovater?            17·   ·that would be the scope of my message deletion.
18·   · · ·A.· · Yes.                                        18·   · · ·Q.· · Do you think it's possible you deleted
19·   · · ·Q.· · Okay.· In October of 2018, you were         19·   ·the text messages that you exchanged with
20·   ·ordered to produce your phone to a vendor for         20·   ·Mr. Heimbach?
21·   ·imaging, right?                                       21·   · · ·A.· · Yes, that is possible.
22·   · · ·A.· · Yes.                                        22·   · · ·Q.· · And we're talking about all --
23·   · · ·Q.· · And you did produce the phone to the        23·   ·withdrawn.
24·   ·vendor, right?                                        24·   · · · · · ·You're saying it's possible you deleted
25·   · · ·A.· · Yes, I did.                                 25·   ·all text messages between you and Heimbach from

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·1·   · · · · · · · · · · · · · M. Parrott                   ·1·   · · · · · · · · · · · · · M. Parrott
·2·   ·the phone that you produced to the vendor,            ·2·   ·actually receive my SMS phone records for the
·3·   ·correct?                                              ·3·   ·relevant timeframe, which would allow us to find
·4·   · · ·A.· · Yes, correct.                               ·4·   ·out whether Mr. Heimbach's text messages have been
·5·   · · ·Q.· · And when is it that you think you may       ·5·   ·deleted or not.
·6·   ·have deleted all text messages between you and        ·6·   · · ·Q.· · Okay.· Well, you're aware that, when the
·7·   ·Mr. Heimbach from your cell phone?                    ·7·   ·vendor imaged your phone after you produced it,
·8·   · · ·A.· · If that occurred, it would have been        ·8·   ·the vendor actually didn't find a single text
·9·   ·directly after the trailer park incident in which     ·9·   ·message from prior to November of 2017 that
10·   ·I was very distraught.                                10·   ·concerned Unite the Right, correct?
11·   · · ·Q.· · Okay.· So you're saying you may have        11·   · · ·A.· · We see these text messages right here.
12·   ·deleted all text messages between you and             12·   ·I'm confident that the phone contained and
13·   ·Mr. Heimbach after March of 2018 from your cell       13·   ·continues to contain a variety of messages
14·   ·phone, correct?                                       14·   ·pertaining to Unite the Right.
15·   · · ·A.· · Correct.                                    15·   · · ·Q.· · Well, to be clear, what we see on the
16·   · · ·Q.· · Mr. Parrott, you did delete all text        16·   ·screen right now is Exhibit 35, right?
17·   ·messages with Mr. Heimbach after March of 2018,       17·   · · ·A.· · Yes.
18·   ·didn't you?                                           18·   · · ·Q.· · And these are screenshots of what you
19·   · · ·A.· · I don't know the answer to that             19·   ·produced to us from your laptop, right?
20·   ·question.· I honestly don't.· I believe we've         20·   · · ·A.· · Yes.
21·   ·pulled the direct cell phone tower records that we    21·   · · ·Q.· · But when the phone was given to the
22·   ·could perhaps review and compare them.                22·   ·vendor to image, you're aware that the vendor did
23·   · · ·Q.· · What do you mean "cell phone tower          23·   ·not find a single text message concerning Unite
24·   ·records"?                                             24·   ·the Right prior to November of 2017?
25·   · · ·A.· · Well, AT&T has been subpoenaed to           25·   · · ·A.· · That is possible.
                                                  Page 288                                                     Page 289
·1·   · · · · · · · · · · · · · M. Parrott                   ·1·   · · · · · · · · · · · · · M. Parrott
·2·   · · ·Q.· · Is it possible that you deleted all text    ·2·   · · ·A.· · Yes.
·3·   ·messages prior to November of 2017 that concerns      ·3·   · · ·Q.· · And you did that before you turned the
·4·   ·Unite the Right?                                      ·4·   ·phone over to the vendor in this case?
·5·   · · ·A.· · It would have been all text messages        ·5·   · · ·A.· · Yes.· It was before I turned the phone
·6·   ·with Mr. Heimbach at the time of the trailer park     ·6·   ·over to the vendor.
·7·   ·incident.                                             ·7·   · · ·Q.· · And the text messages with Mr. Heimbach
·8·   · · ·Q.· · The text messages that we see right now     ·8·   ·that you deleted, that happened before you turned
·9·   ·on the screen, Exhibit 35, are those text messages    ·9·   ·the phone over to the vendor, correct?
10·   ·still in your phone?                                  10·   · · ·A.· · That is correct.
11·   · · ·A.· · They should be.· I can look right now.      11·   · · ·Q.· · Now, you also disclosed another phone
12·   · · ·Q.· · Well, you're aware that the vendor          12·   ·number on one of your certifications, correct?
13·   ·didn't even find these text messages on your          13·   · · ·A.· · Yes.
14·   ·phone?                                                14·   · · ·Q.· · And that phone number is 812-865-5512,
15·   · · ·A.· · That would be a failure on the vendor's     15·   ·right?
16·   ·part, if that's the case.                             16·   · · ·A.· · Yes.
17·   · · ·Q.· · Well, did you delete text messages          17·   · · ·Q.· · And what phone number is that?
18·   ·between you and any other TWP member at all?          18·   · · ·A.· · That, I'm forgetting exactly how that
19·   · · ·A.· · Other than Mr. Heimbach and the former      19·   ·played out, but with the Google Voice, you have
20·   ·Ms. Parrott, no.                                      20·   ·your real phone number behind your phone number
21·   · · ·Q.· · So you also deleted text messages           21·   ·and then your Google Voice phone number.
22·   ·between you and -- is it Jessica Parrott?             22·   · · ·Q.· · So is there a phone associated with the
23·   · · ·A.· · Formerly Jessica Parrott.                   23·   ·812 number?
24·   · · ·Q.· · But you also deleted text messages          24·   · · ·A.· · The Nokia.
25·   ·between you and formerly Jessica Parrott?             25·   · · ·Q.· · Okay.· So that phone number is also

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·1·   · · · · · · · · · · · · · M. Parrott                   ·1·   · · · · · · · · · · · · · M. Parrott
·2·   ·associated with the same phone that your 8282         ·2·   · · ·Q.· · Do you see what's on the screen,
·3·   ·number is associated with, correct?                   ·3·   ·Mr. Parrott, marked Exhibit 36?
·4·   · · ·A.· · That is correct.                            ·4·   · · ·A.· · Yes.
·5·   · · ·Q.· · The 812 number is a Google Voice            ·5·   · · ·Q.· · And are these text messages that you
·6·   ·number?6.· The 317, my main number that I did my      ·6·   ·exchanged with Jason Kessler?
·7·   ·text communication with is the Google Voice           ·7·   · · ·A.· · Yes, they are.
·8·   ·redirection number.· The 812 number is the actual     ·8·   · · ·Q.· · And you're aware that Mr. Kessler's
·9·   ·cell phone tower, AT&T number.                        ·9·   ·number is 434-996-5567?
10·   · · ·Q.· · Okay.· So if I called your cell phone       10·   · · ·A.· · That sounds correct.
11·   ·right now, I would call the 812 number?               11·   · · ·Q.· · And you were texting him from your 812
12·   · · ·A.· · No.· Everyone is to call the 317 number.    12·   ·number, correct?
13·   ·It would ring at this phone number.· Either one       13·   · · ·A.· · Yes.
14·   ·would work, actually.                                 14·   · · ·Q.· · And can you just explain why that is?
15·   · · ·Q.· · Okay.· Well, did you text with              15·   · · ·A.· · If you don't have wi-fi or data service,
16·   ·Mr. Kessler using the 812 number?                     16·   ·and I believe I was in the hospital, it says "Wife
17·   · · ·A.· · I don't believe so, no.                     17·   ·delivering" right there, and that's on my
18·   · · · · · ·MR. BLOCH:· Emily, can we show the next     18·   ·daughter's birthday, November 22nd.· I believe I
19·   · · ·exhibit?                                          19·   ·completely lacked a data signal at all, which
20·   · · · · · · · · (Exhibit 36 Parrott, Text messages,    20·   ·requires you to fall back on your actual phone
21·   · · · · · · · · 11-22-17, no Bates stamps, was         21·   ·number.
22·   · · · · · · · · marked for the purposes of             22·   · · ·Q.· · Okay.· What is it -- you say in the last
23·   · · · · · · · · identification.)                       23·   ·text, "Will you accept $200 in Bitcoin," correct?
24·   · · · · · ·MR. BLOCH:· I'm sorry.· I'm looking for     24·   · · ·A.· · Yes.
25·   · · ·Tab 11.· It's my fault.                           25·   · · ·Q.· · What is it that you were paying
                                                  Page 292                                                     Page 293
·1·   · · · · · · · · · · · · · M. Parrott                   ·1·   · · · · · · · · · · · · · M. Parrott
·2·   ·Mr. Kessler for?                                      ·2·   ·pomeranians with funny captions come at me on
·3·   · · ·A.· · I do not recall.                            ·3·   ·Signal on a disposable burner phone."
·4·   · · ·Q.· · No idea?                                    ·4·   · · ·A.· · I was making a joke, indicating that
·5·   · · ·A.· · I don't have any idea whatsoever. I         ·5·   ·disposable burner phones are a thing that
·6·   ·don't recall what I was paying him for.               ·6·   ·people -- people use.
·7·   · · ·Q.· · Okay.· Other than the -- well, did you      ·7·   · · ·Q.· · Okay.· But you, yourself have never used
·8·   ·ever have a disposable burner phone?6.· I did         ·8·   ·one?
·9·   ·purchase a second phone while -- during the two       ·9·   · · ·A.· · I, myself, have never used a disposable
10·   ·separate six-week incidents where IDS Solutions       10·   ·burner phone.
11·   ·had my primary phone, so that I could do my day       11·   · · ·Q.· · Now, your e-mail account is
12·   ·job.· And I still possess that phone.· It's           12·   ·parrott.matt@gmail.com, correct?
13·   ·currently deactivated.                                13·   · · ·A.· · Correct.
14·   · · ·Q.· · Okay.                                       14·   · · ·Q.· · And are you the only person that had
15·   · · · · · ·MR. BLOCH:· Can we look at Tab 14?          15·   ·access to that account?
16·   · · · · · · · · (Exhibit 37 Parrott, Twitter tweet,    16·   · · ·A.· · Yes.
17·   · · · · · · · · 2-22-19, Bates stamped                 17·   · · ·Q.· · And you used that to communicate about
18·   · · · · · · · · NOCUSTODIAN00002592, was marked for    18·   ·Unite the Right, correct?
19·   · · · · · · · · the purposes of identification.)       19·   · · ·A.· · I believe so.
20·   · · ·Q.· · Mr. Parrott, I'm showing you what I         20·   · · ·Q.· · Have you ever deleted any e-mails
21·   ·believe is marked Exhibit 37.                         21·   ·generated about Unite the Right from that e-mail
22·   · · · · · ·And is this a tweet by you?                 22·   ·account?6.
23·   · · ·A.· · Yes.                                        23·   · · ·Q.· · Do you agree that, in that initial
24·   · · ·Q.· · And you say at the bottom, "Fedposts        24·   ·production that we looked at in April, 2018, you
25·   ·come at me on Facebook messenger, teacup              25·   ·didn't send us a single e-mail from that account?

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